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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    ROBERT C. BUTLER,                          Case No. CV 20-11211 DMG (RAO)
  12                       Petitioner,             ORDER ACCEPTING FINDINGS,
                                                   CONCLUSIONS, AND
  13            v.                                 RECOMMENDATIONS OF
                                                   UNITED STATES MAGISTRATE
  14    PATRICIA V. BRADLEY, et al.,               JUDGE
  15                       Respondents.
  16

  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, all of the
  18   records and files herein, and the Magistrate Judge’s Report and Recommendation.
  19   Petitioner has not objected to the Report and Recommendation. The Court hereby
  20   accepts and adopts the findings, conclusions, and recommendations of the Magistrate
  21   Judge.
  22         IT IS ORDERED that the Petition is denied, and Judgment shall be entered
  23   dismissing this action with prejudice.
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  25   DATED: November 30, 2021
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                                                DOLLY M. GEE
  27                                            UNITED STATES DISTRICT JUDGE
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